
355 So.2d 869 (1978)
FIRST NATIONAL BANK OF MIRAMAR, Petitioner,
v.
Gerald A. LEWIS, As Comptroller and As Head of the Department of Banking and Finance of the State of Florida, and Barnett Bank of Hollywood in Miramar, Florida, Respondents.
No. II-479.
District Court of Appeal of Florida, First District.
March 8, 1978.
Joseph C. Jacobs and Robert J. Angerer of Ervin, Varn, Jacobs, Odom &amp; Kitchen, Tallahassee, for petitioner.
Franklyn John Wollett, Tallahassee, and Sam Cockrel, Jacksonville, for respondents.

ON PETITIONER'S MOTION TO STAY
SMITH, Judge.
First National Bank of Miramar, having petitioned for review of a Department of Banking and Finance order authorizing a Miramar branch of The Barnett Bank of Hollywood, now moves that we stay the Department's order pending our review of the merits. Section 120.68, Florida Statutes (Supp. 1976).
Petitioner, a competitor bank, urges that the public and the depositors of the branch will suffer irreparable injury should the branch open and later be forced to close as a result of an adverse decision in this court. Petitioner first presented its motion to stay to the Department. That was entirely appropriate; prior application to the affected agency is an essential predicate for our consideration of stay petitions in cases arising under the Administrative Procedure Act.
The Department denied a stay for several reasons, among them that any necessary closure of the branch would not have the disastrous effect on the banking climate which petitioner describes; and that the applicant bank should be privileged to make its own decision whether to open the branch without further delay, with knowledge that the Department's favorable order is subject to review on the merits by this court.
We conceive that the Department has spoken clearly and persuasively concerning matters within its area of expertise, and that we should accord great weight to the Department's decision. Petitioner does not claim that the Department took action without complying with essential Chapter *870 120 procedures, as by denying an essential hearing; the questions raised by the petition for review relate solely to the merits of the branch bank application. In these circumstances, and in the light of the Department's cogent advice to the applicant bank concerning the risks involved, petitioner's motion to stay is
DENIED.
McCORD, C.J., and BOYER, J., concur.
